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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

J. WAYNE RAIFORD and

B, T & R ENTERPRISES, LLC
Plaintiffs,

Crvil Action No. 1:11-CV-00152

Vv.

NATIONAL HILLS EXCHANGE, LLC,
SNELLVILLE CROSSING, LLC,
RICHARD D, SWOPE, RONALD J.
DeTHOMAS, JAMES S. TIMBERLAKE,
THOMAS L. ABERNATHY, and
STEVEN E. GAULTNEY,

Defendants.

Nee Nee” Smee” Saree” Sere! Steet” ee” eet” Sere” re See” See Ne”

PLAINTIFFS' OBJECTIONS TO DEFENDANTS' EXHIBITS
(NUMBERED ACCORDING TO DEFENDANTS' EXHIBIT LIST)

(since Defendants’ exhibit list has not been filed, and is not required to be filed, as of the
date of these objections, Plaintiffs append Defendants’ exhibit list hereto so as to provide
a key for their objections below)

Note: Some of Defendants’ exhibits may become irrelevant depending on the Court’s

ruling on the motions in limine filed by Plaintiffs and Defendants.

2A. This appraisal dated April 20, 2007 is irrelevant as not being related to any issue in
this litigation. ‘The value of the shopping center in 2007 is irrelevant. Also, the appraisal
would be hearsay in the absence of testimony from the appraiser, who was not listed as a
witness by Defendants.

3, This closing statement for the original sale of the property by Plaintiffs to National
Hills Exchange, LLC is irrelevant to any issue in this litigation.

4, The amended and restated operating agreement of National Hills Exchange, LLC,

adopted in 2009 without notice to Plaintiffs, is irrelevant to any issue in this litigation,

 

 
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10.‘ This appraisal was superseded by the December 1, 2010 appraisal and was not the
basis for any actions taken by any party. It is therefore irrelevant and potentially confusing
and should be excluded as irrelevant and also pursuant to F.R. Evid. 403, in that it would
confuse the jury to no purpose.

16. Irrelevant. This occurred long before the events giving rise to this lawsuit and has
no evidentiary value as to any point at issue.

17. Irrelevant. This occurred long before the events giving rise to this lawsuit and has
no evidentiary value as to any point at issue.

29, Objection: So far as Plaintiffs can determine, this document was never furnished in
discovery. Also, it appears to be a document prepared after this case began and in
anticipation of trial herein and has no evidentiary value in itself.

31. This document is incomplete because it refers to “attached projections” that are not
included. Plaintiffs object to an incomplete document being received in evidence,

33. This document should be excluded if Section 6 of Plaintiffs’ motion in limine is
granted.

36. Irrelevant. Whether Defendants had to guarantee all or any portion of the new loan
they obtained in June of 2011 has no relevance to any point at issue.

38. Objection because this is a duplicate exhibit and should not go out with the jury twice.
39, Objection because this is a duplicate exhibit and should not go out with the jury twice.
Also, it is incomplete because it refers to projections attached but these are not attached.
41. Objection because this is a duplicate exhibit and should not go out to the jury twice.

Also, this should be excluded if Section 6 of Plaintiffs’ motion in limine is granted.

 

 
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44, Objection because this is incomplete. It purports to attach an operating statement but
does not do so.

46, NO EXHIBIT.

48, Objection because this is a duplicate exhibit and should not go out to the jury twice.
Also, we have been told that this exhibit number should not actually represent an exhibit.
54-56. Irrelevant. This occurred long before the events giving rise to this lawsuit and has
no evidentiary value as to any point at issue.

61, Objection because this is a duplicate and should not go out to the jury twice.

62, Objection: this appears to be a partial and incomplete copy of another exhibit. It
should not go out to the jury twice and should not go out without the attachment.

64. Objection because this is incomplete. It does not include the attachment referenced,
66-67A, Objection because these were never furnished to Plaintiffs in discovery. They
appear to be not evidence but rather some kind of visual aids, presumably to illustrate an
unspecified witness’s testimony. As such, even they are allowed by the Court as visual
aids, they should not go out to the jury as exhibits

69, NO EXHIBIT.

70, Objection. Any guaranty Defendants signed in connection with their loan from
Atlantic Capital Bank is irrelevant to any issue in this case.

72. Objection because this is a duplicate exhibit and should not go out to the jury twice.
73. Objection because this is a duplicate exhibit and should not go out to the jury twice.
Also it is incomplete because it does not include the referenced attachment.

81. Objection because this is a duplicate exhibit that should not go out to the jury twice.

 

 
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83. Irrelevant. This occurred long before the events giving rise to this lawsuit and has
no evidentiary value as to any point at issue.

85. Irrelevant. This appears to be a duplicate of (10) above.

95, Irrelevant. The fact that Defendants’ agent forwarded a marketing brochure to Mr.
McPhail is irrelevant to any issue in the case.

96. Irrelevant. The fact that Mr. McPhail indicated that he and Mr. Abernathy had spoken
about a theoretical contract, which was never entered into nor would it have even been
binding, is not relevant to any issue in the case.

98. Irrelevant. What a bank might have offered to finance Defendants’ purchase of the
shopping center on January 21, 2011, well after Defendants were informed that they could
not purchase the center, is not evidentiary of any point at issue.

99, Irrelevant. What a bank might have offered to finance Defendants’ purchase of the
shopping center on January 26, 2011, well after Defendants were informed that they could
not purchase the center, is not evidentiary of any point at issue.

100. This letter was received by Defendants after they had already signed a contract to
sell the shopping center to KHY and therefore has no evidentiary value as to any point at
issue.

115. Irrelevant. This agreement happened long before any events which have to do with
this case.

116. Irrelevant. This occurred long after the events giving rise to this lawsuit and does
not relate to the value of the shopping center. Thus it has no evidentiary value as to any

point at issue.

 
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117. Irrelevant. This occurred long after the events giving rise to this lawsuit and does
not relate to the value of the shopping center. Thus it has no evidentiary value as to any
point at issue.

118-124, Irrelevant. Tax values ate inadmissible in this lawsuit. It is the universal
rule in Georgia and in federal courts that evidence of tax assessed value of property is not
admissible as evidence of value except (1) where the assessing authority is a party to the
litigation or (2) where it is used to impeach the testimony of the property owner, and in the
latter case only where it is shown that the property owner actually and affirmatively
returned the property at that value and thus participated in its valuation. An extensive
annotation at “Valuation for taxation purposes as admissible to. show value for other
purposes”, 39 A.L.R.2d 209, explores and establishes this point. This will be addressed
also in Plaintiffs’ reply in support of their motion in limine, which will be filed before or
on October 18.

128. Objection: This is merely a lawyer’s opinion as to the effect of the Revised and
Amended Operating Agreement. Expert opinion from Mr. Paller has already been
excluded from trial.

130-134, Irrelevant. All these relate to events that occurred long before the events

giving rise to this lawsuit and are not evidentiary of any point at issue.

 

 
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This 14th day of October, 2016.

/s/ Charles C. Stebbins, IU
CHARLES C, STEBBINS, II
Georgia Bar No. 677350

Email: cstebbins@wsmclaw.com
Attorney for Plaintiff

 

OF COUNSEL:

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(706) 722-7543

 
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AO 187 (Rev, 7/87) Bahlblt and Witnoss List

United States District Court
Southern District of Georgia

 

 

J. WAYNE RAIFORD and 5 EXHIBIT AND WITNESS LIST
B, T & R ENTERPRISES, LLC } CASE NO, i:Ll-cy-00152
)
Plaintiffs, }
}
v. }
)
NATIONAL HILLS EXCHANGE, LLC, 5 DEFENDANTS’ EXHIBIT LIST
SNELLVILLE CROSSING, LLC, 5
RICHARD D, SWOPE, RONALD, 5 (Exhibits marked with * are listed only as rebuttal exhibits
DeTHOMAS, JAMES 8, TIMBERLAKE, ) to be used depending on the Court’s In Limnine rulings)
THOMAS L. ABERNATHY, and }
STEVEN E, GAULTNEY, 5
)
Defendants, }
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT’S ATTORNEY
Hon. §, Randal Hall . Charles C. Stebbins, IE . David E, Hudson
TRIAL DATHS: COURT REPORTER COURTROOM DEPUTY

 

PLE | DEF DATE

 

NO | NO OFFERED | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
. December 29, 2006, Agreement for Purchase and Sale.

 

 

 

 

 

 

 

 

 

 

 

 

 

2 Aupust 3, 2007, Second Amendment to the Agreement for
Purchase and Sale,

2A April 20, 2007, Everson Huber appraisal.

3 September 11, 2007, Sale Closing Statement. !

4 Match 23, 2009, Amended and Restated Operating :
Agreement of National Fills Exchange,

5 August 4, 2010, National Hills Exchange Engagement
Letter with Bullock Mannelly Partners.

6 September 29, 2010, Notice of Default Letter,

6A December 2, 2010, foreclosure ad to newspaper.

7 August 11, 2010, email from Jim Timberlake to Garcia,

8 August 20, 2010, email from Jim Timberlake to partners.

9 August 25, 2010, Jim Timberlake email to partuers.

 

 

 

 

 

 

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10 July 2010 appraisal of Shopping Center,

1} November 11, 2010, email and proposal to Compass
Bank.

12 November 19, 2016, email from Jackson reporting on
Garcia conversation.

13 November 22, 2010, email from Jackson reporting on
Compass Bank conversation.

14 June 8, 2010, Walter Sprouse email,

14A August 11, 2010, email from Timberlake that no more
funding.

15 August 25, 1010, Non-disclosure agreement with,
Electrolux.

16 July 14, 2010, email correspondence with Compass Bank
te; funding for new tenants.

17 August 24, 2010, Timberlake email to Garcia re Firehouse
Subs.

18 December 20 and December 21, 2010. Compass Bank
settlement proposals,

19 January 21, 2011, Timberlake to Compass Bank email,

20 February 11, 2011, email from Debra Jackson to partners
te Compass Bank conversation.

21 February 9, 2011, KHY offer and transmittal email,

22 February 15, 2011, Timberlake to Garcia requesting latest
Compass Bank appraisal.

23 February 11, 2011, Compass Bank email accepting KHY
offer,

24 April 22, 2011, Settlement Agreement between Compass
Bank and NHX,

244, April 29, 2011, deficiency note and consent judgment.

25 November 23, 2010, Letter of Intent signed.

26 December 29, 2010, Hlectrohyx Lease Document.

27 January 26, 2011, Electrolux Revocation of Lease
Signature.

28 February 4, 2011, Lease with Electrolux.

 

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29 What To Do List.

30 November 16, 2010, email from Mr, Timberlake to Mr.
Raiford, et al,

31 December 1, 2010, email from Mr. Timberlake to Mr.
Raiford, et al. with assessments.

32 January 4, 2011, email from Mr. Timberlake to Mr.
Raiford requesting financial information to lenders.

33 January 4, 2011, Mr. Ratford email to Mr. Timberlake.

34 Match 15, 2011, letter from Mr. Warlick to Mr.
Titaberlake,

35 March 11, 2011, letter from Mr. Timberlake to Mx,
Warlick,

36 June 17, 2011, Joint and Several Guaranties. *

37 June 17, 2011, Closing Statement, *

38 November 16, 2010, email from Mr, Timberlake to Mr.
Raiford.

39 December 1, 2010, Timberlake to Raiford with upside and
downside,

40 January 4, 2011, email from Timberlake to Raiford
requesting financial statements.

Al January 4, 2011, email from Raiford to Timberlake stating
CPA would send information,

42 Jarmary 5, 2011, email from Timberiake to Raiford about
CPA. contact,

43 January 13, 2011, email from Timberlake to Brown x.
stating obstacles and prospective tenant.

44 November 17, 2010, Timberlake to Mike Brown with #
Operating Statement.

45 Novernber 29, 2010, Timberlake email to Brown with *
details.

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Ay January 6, 2011, email from Timberlake to Brown - *
statement needed.

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49 January 21, 2011, email from Timberlake to Brown, All
must participate equally.

50 February 15, 2011, email from Timberlake to Brown,
Opportunity over,

41. April 26, 2011, email from Timberlalce to Raiford and
Brown summarizing history of the sale.

32 April 26, 2011, email from Timberlake to Ratford with
farther explanation.

453 May 17, 2011, email from Timberlake to Raiford and
Brown with further details about the deficiency.

54 March 19, 2010, Media General Letter of Intent for
Dillard’s space.

55 April 16, 2010, Media General Buildout Requirements.

56 Visual of impact of lease to Media General, Firehouse and
Empire,

57 August 2, 2010, Walter Sprouse email,

358 October 7, 2010, Walter Sprouse email.

59 November 22, 2010, email from George Corey to Becky
Kicklighter,

60 November 22, 2010, Timberlake email to Debbie Jackson.

él November 22, 2010, Debbie Jackson email confirming
Compass foreclosure plans.

62 November 23, 2010, 10:30 a.m, Debbie Jackson email to
Compass with proposal to stop foreclosure.

63 November 23, 2010, email from Hlectrolux, 10:59 a.m.,
sending signed Letter of Intent.

64 November 23, 2010, Debbie Jackson email that afternoon,

65 Bullock Mannelly marketing brochure with Letter of
intent disclosure.

66 Visuals of what had to be done for Electrotux.

67 Visuals of what had to be done for Fresh Market.

67A Visual of the parking requirements.

68 February 2011 Electrolux public announcement.

 

 

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69 LEET BLANIC

70 June 17, 2011, guarantees signed by partners,

7h May 20, 2011, bond closing with RCDA.

72 November 8, 2010, email from Debra Jackson to Linda
Garcia,

73 November 23, 2010, Jackson email to Ms. Garcia.

74 December 1, 2010, Jackson letter to Garcia,

W5 December 6, 2010, Timberlake omail re Garcia.

76 December 13, 2010, Jackson report to NHX.

77 December 15, 2010, Jackson to NEL.

78 December 20, 2010, Garcia to Jackson.

79 January 7, 2011, Jackson letter and email to Garcia.

30 January 12, 2011, Jackson email to NHX.

81 January 21, 2011, Timberlake email to Garcia,

82. February 16, 2011, Compass Bank Problem Asset
Summary and Approval.

83 August 24, 2010, Timberlake submitting Firehouse Subs
lease,

83A August 21, 2009, Compass Bank/FDIC agreement.

84 June 11, 2011, CBRE Appraisal.

85 July 2010, Everson Huber appraisal.

86 December 1, 2010, Everson Huber appraisal.

87 October 28, 2010, Bullock email re Garcia call,

88 2010 BMP marketing brochure,

8A January 24, 2011, BMP email with list of potential
purchasers and previous investor prospects,

88B December 8, 2010, Fischer memo of possible prospects,

89 February 1, 2011, Garcia email to Fischer.

50 January 26, 2011, BMP prospect list to Garcia.

 

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91 February 1, 2011, BMP prospect to Garcia.

92 February 10, 2011, BMP list to Garcia.

93 February 11, 2011, BMP list to Garcia,

94 February 17, 2011, BMP list to Garcia,

95 January 24, 2011, email from Fischer to McPhail with
marketing material.

96 January 25, 2011, McPhail email to BMP.

97 September 22, 2010, BMP letter to Garcia.

98 January 14, 2011, letter from State Bank & Trust. *

99 January 26, 2011, letter from GE Capital. *

100 March 23, 2011, letter from Amos at State Bank & Trust. = *

101 April 15, 2011, Supplemental Agreement to Economic
Development Agreement.

102 April 22, 2011, First Lease Amendment,

163 August 9, 2011, Second Amended to Electrolux lease.

164 January 18, 2011, DeThomas emails to Jerome,

105 December 8, 2010, Confidentiality Agreement.

106 April 22, 2011, personal guarantee by Harrell.

107 April 22, 2011, Put Option Agreement.

108 April 22, 2011, Security Deed.

i09 April 22, 2011, Loan Closing Statement.

110 June 17, 2011, Long Closing Statement, *

1LIOA Fine 22, 2011, Subordination Agreement. *

iil June 17, 2011, Security Deed. #

112 June 21, 2011, budget for National Hilts, *

113 Aprit 22, 2011, Second Amendment to Fresh Market
lease.

114 May 20, 2011, closing with RCDA. *

115 August 27, 2007, original Fresh Market lease.

 

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116 October 5, 2011, NHEP letter stating Electrolux open
September 19.

117 October 5, 2011, Swope letter to Koch at Fresh Market.
Parking to be finished in two weeks.

118 May 13, 2011, Richmond County tax notices.

119 May 11, 2012, Richmond. County tax notice.

120 July 13, 2012, Richmond County tax notice.

121 October 12, 2012, Richmond County tax notice.

122 November 15, 2012, property tax statement,

123 2012 property fax statement revised,

124 May 9, 2014, Richmond County tax notices,

125 April 18, 2011, NHEP request that A&T manage the
Shopping Center.

126 August 24, 2007, Operating Agreement. Rees Holding,
owner,

127 March 3, 2008, transfer from Rees to Snellville Crossing,

128 January 13, 2009, Paller letter to members.

129 April 17, 2009, Amended and Restated Operating
Apreement for NHX,

130 February 17, 1999, Deed to BT&R,

131 February 18, 1999, The Augusta Chronicle article.

132 June 15, 2004, Windsor Assignment of Interest to Raiford.

133 October 18, 2004, Boykin Assignment of Interest to
Raiford.

(34 February 27, 2008, BT&R letter acknowledging receipt of
note payment and interest,

 

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CERTIFICATE OF SERVICE
This is to certify that on this day, I electronically filed my Objection to Defendants’
Exhibits using the CM/ECF System and have this day served all parties in this case with a
copy in accordance with the directives from the Court by Notice of Electronic Filing
(“NEF”) which automatically generates an email notification as a result of electronic filing

to the following attorneys of record:

David E. Hudson, Esq.
Attorney for Defendants
dhudson@hullbarrett.com

N. Shannon Gentry Lanier, Esq.
Attorney for Defendants
SLanier@hullbarrett.com

This the 14th day of October, 2016.

/sf Mitchell B. Snyder
MITCHELL B. SNYDER

Georgia Bar No, 382138
Email: msnyder@wsmclaw.com
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